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                           UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

IN RE: SOCIAL MEDIA ADOLESCENT                          MDL No. 3047
ADDICTION/PERSONAL INJURY
PRODUCTS LIABILITY LITIGATION                           Case Nos.: 4:22-md-03047-YGR-PHK
                                                                   4:23-cv-05448-YGR

                                                        JOINT LETTER BRIEF ON THE
This Filing Relates to:                                 TIME PERIOD TO BE COVERED IN
                                                        STATE AGS’ RULE 30(B)(6)
People of the State of California, et al. v. Meta       DEPOSITION OF THE META
Platforms, Inc., et al.                                 DEFENDANTS

                                                        Judge: Hon. Yvonne Gonzalez Rogers
                                                        Magistrate Judge: Hon. Peter H. Kang



Dear Judge Kang:

        The State AGs and Defendants Meta Platforms, Inc.; Instagram, LLC; Meta Payments,
Inc.; and Meta Platforms Technologies, LLC (collectively, “Meta”) respectfully submit this letter
brief regarding disputes over the time period to be covered in the testimony of Meta’s designees
for the State AGs’ Amended Rule 30(b)(6) Deposition Notice of the Meta Defendants (the
“Notice”). The Notice to Defendant Meta Platforms, Inc. is attached as Exhibit A. 1

        Yesterday, the Parties filed a stipulated request to extend deadlines for certain expert
reports in the State AGs’ case, including experts who may rely on Meta’s testimony pursuant to
the Notice. ECF 1953. Additionally, the previous date for this deposition has been rescheduled.
Meta has proposed June 5, 2025 for the first deposition of a Rule 30(b)(6) designee. To expedite
the resolution of this dispute, the Parties have agreed not to request oral argument on this letter
brief. If the Court desires to hear argument, the Parties are prepared to appear at the Court’s
convenience.

        Pursuant to the Discovery Standing Order and Civil Local Rule 37-1, the Parties attest that
they repeatedly met and conferred by video conference, email, and correspondence before filing
this brief. Because all lead counsel were not located in the geographic region of the Northern
District of California or otherwise located within 100 miles of each other, they met via
videoconference, with the final conferral occurring on May 7, 2025. Lead trial counsel have
concluded that no agreement or negotiated resolution can be reached.


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  In the joint letter brief, the parties cite certain materials produced in discovery. As required by
the Court’s Discovery Standing Order’s general prohibition on attachments to letter briefs, Order
§ H.3, the cited materials are not attached. The parties are prepared to file the cited materials or
otherwise provide them to the Court, at the Court’s request.

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Dated: May 13, 2025            Respectfully submitted,



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State AGs’ Position: Meta improperly seeks to block its corporate designees from testifying about
information in Meta’s possession on 10 topics, simply because the information post-dates April 1,
2024. The 10 topics are clearly and concisely set forth in the State AGs’ Amended 30(b)(6) notice
of Meta (Exhibit A, originally served January 10, 2025), which requests testimony through the
present. These topics, Nos. 1-6 and 15-18, which address Meta’s data collection practices, efforts
to remove Child users, and development of safety initiatives, among other conduct, necessarily go
to the core of Meta’s systematic, ongoing violations of the Children’s Online Privacy Protection
Act (“COPPA”) and state consumer protection laws—violations that the State AGs’ complaint
plausibly alleges are continuing through today. After months of negotiations, Meta has refused to
allow its corporate designees to testify regarding information after April 1, 2024, claiming that the
Court’s order on the “default” “Relevant Time Period” for “Meta’s search, collection, and review
of responsive documents,” ECF 969 at 4 (emphasis added), somehow bars any testimony on events
after that date (except for three discrete subjects that largely benefit Meta). Court intervention is
needed to end Meta’s intransigence and prevent prejudice to the State AGs in preparing their case.
The Court should deny Meta’s request to constrain the time period for its designees’ testimony.

Injunctive relief is one of the primary remedies sought by the State AGs in this civil law-
enforcement action. The State AGs’ complaint plausibly alleges that Meta’s violations of
numerous state consumer-protection laws and COPPA are ongoing. Accordingly, testimony post-
dating April 1, 2024, is directly relevant in establishing the appropriateness and scope of injunctive
relief in this action. See, e.g., Medina v. Two Jinn, Inc., No. 22-02540, 2023 WL 11956374, at *6
(N.D. Cal. Feb. 22, 2023). And recent evidence of Meta’s misconduct is probative of its “likelihood
of recurrence.” F.T.C. v. Evans Prods. Co., 775 F.2d 1084, 1088 (9th Cir. 1985). Topics 1-6, for
example, largely focus on Meta’s conduct and policies related to compliance with COPPA,
including Meta’s collection and use of users’ personal data (Topic 2(a)), Meta’s written policies
for COPPA compliance (if any) (Topic 3), and Meta’s capabilities and practices for identifying
child users under the age of 13 (Topics 4 and 6). However, Meta refuses to offer any testimony on
these topics after April 1, 2024.

Similarly, Topics 15-18 go to the heart of Meta’s current safety measures relevant to injunctive
relief, and past misrepresentations as to the safety of Meta’s products. Picking post-April 2024
actions that it finds helpful, Meta itself has asked fact witnesses to testify about select safety
initiatives (e.g., the “Teen Accounts” feature). But Meta seeks to stop the State AGs from enquiring
about the what and why of other safety measures that Meta has undertaken or, more importantly,
decided to not undertake after April 2024 (e.g., algorithm changes to reduce excessive use) (Topic
18). Meta should not be permitted to cherry pick the initiatives post-dating April 2024 on which it
will testify while blocking inquiry into areas contrary to Meta’s preferred narrative. 2

Meta has proposed no compromises in meet and confer. Meta likewise refuses to forgo later
attacking the State AGs’ case if the State AGs do not present evidence of Meta’s ongoing
misconduct after April 2024. And Meta refuses to commit to not present its own evidence on the

2
 The State AGs have agreed that Topics 8-14 on Meta’s financial and user metrics and information
need not extend beyond April 1, 2024, except for any recent data produced (if any) or certain
adjustments to its metrics and financial reporting methodologies (which appear to have occurred
around Q1 2024). Because these topics relate to monetary relief, testimony on events after April
1, 2024 is less critical than for the other topics which relate to injunctive remedies and liability.

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noticed topics, including testimony of its employees, post-dating April 2024, despite withholding
30(b)(6) deposition testimony on such recent conduct. Cf. Guifu Li v. A Perfect Day Franchise,
Inc., No. 10-CV-01189-LHK, 2011 WL 3895118, at *4 (N.D. Cal. Aug. 29, 2011) (prohibiting
defendant from relying on declarations regarding 30(b)(6) topic “until it produces a corporate
deponent on this topic”). Meta’s one-sided approach to discovery should not be endorsed.

Troublingly, Meta has even refused to provide testimony about recent conduct described in
documents it produced, or even information Meta has provided publicly, unless the conduct falls
into one of the three “topic areas” for which Meta previously chose to provide more recent
documents in response to RFPs. For example, despite touting in July 2021 that it was developing
models to “find and remove accounts belonging to people under the age of 13,”
https://about.fb.com/news/2021/07/age-verification/, Meta’s documents indicate it never actually
used any of its models to do so, until October 2024, when it began using a “heuristic” model “to
proactively find u13 accounts.” META3047MDL-186-00000825. Because this document was
produced in response to an RFP seeking documents on Meta’s launch of Teen Accounts, Meta has
refused to testify regarding this age model after April 2024, its efficacy compared to Meta’s other
u13 models it chose not to deploy, and whether Meta deletes children’s accounts the model detects
(see Topics 4(b), 6). 3 Meta must provide this testimony, which would be highly probative of the
feasibility of an injunction requiring Meta to deploy such a model to keep children off its platform.

Meta’s Position: Nearly a year ago, as the Parties litigated over the parameters of various forms
of discovery—including depositions—the Court issued an order stating that the “default end date”
applicable to “Plaintiffs’ discovery requests directed at Meta” would be April 1, 2024. ECF No.
969 (June 24, 2024) (“DMO No. 7”). Nowhere did the Court state that the default end date applied
only to certain forms of discovery. Nor did the Court exempt 30(b)(6) deposition topics from the
“default end date.” Nonetheless, Plaintiffs now argue that the April 1, 2024 end date does not apply
to 30(b)(6) deposition topics, and so they are free to seek 30(b)(6) testimony on events extending
up to the date of the deposition itself. Plaintiffs are wrong. Their position not only flouts the clear
terms of the Court’s order, but also creates a host of burdens and practical issues.

To start, DMO No. 7 was unambiguous: it set the “default end date” for “discovery requests
directed at Meta.” 30(b)(6) depositions are, of course, one form of a discovery request, for
testimony on specified topics. See, e.g., F.R.C.P. Advisory Cmte. Notes for 1970 Amend. (30(b)(6)
deposition is “facility for discovery” whereby party can “designate the matters on which he
requests examination”); S.H. Silver Co. Inc. v. Sentinel Ins. Co., Ltd., 2025 WL 517741, at *5
(N.D. Cal. Feb. 18, 2025) (Kang, J.) (taking issue with certain “discovery requests” that were
“unlimited as to time period,” which included a “30(b)(6) deposition notice”). And, for almost a
year, the Parties have operated under the common view that the “default end date” in DMO No. 7
applied to all defensive discovery in this matter, unless it was specifically extended by either
agreement or Court order for limited and defined post-end date developments. For example, Meta
applied the default end date to the 30(b)(6) deposition noticed by the SD Plaintiffs, and they did
not ask the Court to expand the Relevant Time Period (“RTP”) for that deposition. By contrast, in
response to document requests seeking information on Instagram Teen Accounts, Meta agreed, for
3
  Similarly, while Meta has agreed to testify as to the “interpretation and meaning” of recent
datasets (Topic 7), it refuses to testify to anything “outside the datasets themselves” such as the
techniques used to create the data or the purposes for which they were used (e.g., Topics 4(i), 6).

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those topics only, to an end-date beyond April 1, 2024. Consistent with this history, Meta’s
position has been that, for the 30(b)(6) deposition, the RTP is the period ordered in DMO No. 7
(i.e., January 1, 2012 – April 1, 2024 generally, with earlier time periods for specific features),
with later time periods solely for questions relating to Teen Accounts (April 2, 2024 – October 30,
2024), Reset Recommendations (April 2, 2024 – January 17, 2025), or the interpretation of certain
post-April 1, 2024 data produced to Plaintiffs and covered by a 30(b)(6) topic.

Plaintiffs, in response, try to cabin the scope of DMO No. 7 by noting that it was issued in response
to a dispute regarding document discovery. But that does not mean the Parties sought (or the Court
intended to impose) an end date that applied only to document discovery. The Court’s written order
unequivocally states that the default end date applies broadly to “discovery requests,” not
“document discovery.” Plaintiffs also quote, out of context, a segment of the June DMC where the
Court stated that it was “not putting any limits on time frame . . . that [Plaintiffs] can ask questions
on.” 6/20/24 DMC Tr. at 80. But the Court’s comment was clearly addressing the scope of a non-
30(b)(6) fact deposition of a non-party. See id. (noting that the RTP applies to “party discovery”
and would not affect fact depositions of non-parties). Here, a 30(b)(6) deposition of Meta is “party
discovery” on specified topics, and thus it is subject to the default end date.

There are also practical reasons for applying the default end date to the 30(b)(6) deposition. Under
Rule 30(b)(6), a corporation must take reasonable steps to prepare a witness for the noticed topics,
which could include educating the witness using relevant documents already produced during
discovery. Based on extensive negotiations with Plaintiffs and the agreed-upon scope of discovery,
Meta has produced over 2.5 million documents. However, with very limited exceptions, those
documents precede April 1, 2024. Requiring Meta to prepare a witness without relevant, produced
documents would be extremely prejudicial; likewise, potentially requiring Meta to prepare a
witness with new documents would be unfair and burdensome, and would permit Plaintiffs to
evade the discovery period set by the Court. That is because, to the extent Meta must prepare a
witness on post-April 2024 events utilizing post-April 2024 documents, Meta would be required
to undertake the enormous burden of additional identification, collection, review, and potentially
production for the time period from April 1, 2024 to the present for the topics encompassed by the
30(b)(6) Notice. Plaintiffs cannot use a 30(b)(6) deposition to re-open the whole of document
discovery through to the present. And that is certainly not what this Court contemplated in entering
DMO No. 7.

Fact discovery closed on April 4, 2025. Meta has engaged in significant time and cost to complete
its document productions to Plaintiffs based on the ordered and agreed-upon discovery parameters.
It would be fundamentally unfair to restart that process. Meta therefore requests that the Court
enter a protective order applying the RTP set forth in DMO No. 7 to the 30(b)(6) deposition of
Meta. See Apple Inc. v. Samsung Elecs. Co., 2012 WL 1511901, at *2 (N.D. Cal. Jan. 27, 2012) (a
court may issue a protective order “limit[ing] the extent of otherwise relevant” 30(b)(6) testimony
“where the benefit to and need of the propounding party is outdone by the burden . . . imposed on
the other side”). Under that RTP, the default end date would apply to all 30(b)(6) topics, except to
the extent that any of those topics seeks testimony concerning Teen Accounts, Reset
Recommendations, or the interpretation of post-April 1, 2024 data produced by Meta.




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State AGs’ Response: Meta has no basis to constrain its witnesses’ testimony. Indeed, Meta
concedes that its post-April 2024 conduct is discoverable, but apparently only if Meta benefits.
Meta misrepresents the Court’s order and ignores that Meta itself sought and obtained discovery
from the State AGs post-April 2024. Meta’s speculative assertions of burden are insufficient. The
Court should reject Meta’s attempts to block testimony regarding its recent conduct.

As discussed, Meta’s defense appears to rely on its Teen Accounts feature, released in fall 2024,
which Meta suggests protects teens from a variety of harms. Meta has repeatedly elicited testimony
from its employees about that feature. See, e.g., M.B. Dep. 522:8–18; L.C. Dep. 489:15–491:12.
Meta has also agreed to provide testimony on tools and features it considered, but did not adopt,
to protect young users from harm. If Meta wishes to defend itself based on recent developments,
fairness dictates that the State AGs be permitted to develop evidence that rebuts that defense.

Meta relies on DMO 7 but misrepresents the record. DMO 7 resolved a letter brief that, by its title,
was limited to the “relevant time period applicable to Meta document search and production,” ECF
888 at 1. As the Court reminded the Parties: “This is just document discovery. You’re certainly
free to depose whoever you want to depose and get testimony. I’m not putting any limits on time
frame -- for the subject matter time frame that you can ask questions on.” ECF 967 at 80:16-19
(emphasis added). The Court’s reference to “party discovery,” on which Meta relies, simply noted
that Plaintiffs may serve third-party subpoenas (presumably for documents) beyond the period for
Meta’s document collections. Id. at 80:10-11. Meta misleadingly omits the Court’s key guidance.

Nor have the Parties operated under a “common view” that DMO 7 applied to all discovery beyond
RFPs. Meta neglects to mention that it itself sought discovery of the State AG Plaintiffs through
the present. Nearly five months after DMO 7, Meta served interrogatories seeking “information
relating to the time period from January 1, 2012 through the present, in light of inter alia the
alleged continuing nature of Plaintiff’s COPPA claims,” which the State AGs provided. Meta must
provide testimony for the same period it demanded discovery of the State AGs.

Meta’s conclusory burden argument fails to meet its “heavy burden” to preclude the State AGs
from obtaining relevant testimony on issues core to their case. See S.H. Silver Co., 2025 WL
517741, at *2 (citations omitted). Contrary to Meta’s assertions, the State AGs are not asking Meta
to restart its custodial document collections for an additional year. Meta makes no attempt to
explain why such a comprehensive collection is necessary to prepare its designees. 4 And Meta
ignores its ability to simply talk to its own employees. Information about Meta’s recent conduct
and decision-making is likely to be the most “reasonably available” from current employees.
Indeed, for some topics, there is no conceivable burden of providing the testimony. For example,
on Topic 3 (written COPPA compliance policies), Meta has confirmed that aside from its ban on
users under 13 in its terms of service and terms of use, such written policies “do not exist.” No
comprehensive collection is needed for Meta to testify that it also had no written COPPA policies
after April 2024. The Court should decline Meta’s unjustified request to limit its testimony.


4
 Meta improperly points to the close of fact discovery. The State AGs first served their notice on
January 10, 2025, proposing a date in late February. Meta objected, but offered no dates, in
violation of applicable orders, see ECF 742 at 7, until after fact discovery closed, when it proposed
May 9. Meta’s defiance of court orders cannot justify its refusal to provide relevant testimony.

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Meta’s Response: Plaintiffs’ arguments for expanding the RTP are unpersuasive. Plaintiffs
primarily argue that they need 30(b)(6) testimony concerning post-April 1, 2024 policies and
features in order to establish the necessity and feasibility of any permanent injunction they might
request at trial. But Plaintiffs have to clear several hurdles before any discovery over the scope of
injunctive relief is appropriate. First, Plaintiffs must specify the precise terms of their proposed
permanent injunction. The Complaint, however, describes the requested injunction only in general
terms, see, e.g., Compl. at 199-200, which falls short of satisfying F.R.C.P. 65’s requirement that
any injunction “describe in reasonable detail” the “acts restrained or required.” Once Plaintiffs
outline the injunctive relief sought in sufficient detail, the Court can then decide upon the scope of
additional discovery (if any) needed for the requested injunction. There is a further threshold
question of whether Plaintiffs are entitled to any injunction. And even if they were to establish that
some injunction is justified, the Court could conclude that they are entitled to an injunction for
only a subset of their claims or against a subset of the challenged Meta practices. Cf. San Bruno
Mountain Watch v. Cypress Amloc Land Co., 2005 WL 8177591, at *1 (N.D. Cal. Nov. 3, 2005)
(If “Defendants have no liability, there will be no need to conduct discovery” on “purely remedial
issues” but if “Defendants are found liable for any of the claims, discovery . . . as to injunctive
relief . . . can be focused on remediation of the liability that was actually found.”). Additionally, it
is unclear why 30(b)(6) testimony in particular, from April 1, 2024 to the present, will be uniquely
necessary or relevant for any remedial analysis.

As the Court aptly noted, “for practical reasons, discovery time periods cannot be extended
indefinitely.” ECF No. 953 at 9. The potential, future need for discovery regarding the scope of
Plaintiffs’ unspecified, requested injunction does not justify expanding the RTP for a 30(b)(6)
deposition today. See Nuskey v. Lambright, 251 F.R.D. 3, 9 (D.D.C. 2008) (the possibility that
discovery “through the present time may yield [relevant] evidence” is “too speculative to justify
extending the relevant time period to the present day,” since “in every case there ‘could be’
relevant [information]” outside of the RTP).

Plaintiffs also accuse Meta of “cherry pick[ing]” the areas for which it has agreed to provide post-
April 1, 2024 30(b)(6) testimony. That is plainly false. The targeted areas for which Meta has
agreed to provide post-April 1, 2024 30(b)(6) testimony were those for which Plaintiffs previously
requested post-April 1, 2024 documents. Meta’s position is simply that the temporal scope of
30(b)(6) testimony should match the temporal scope of document productions. See DMO 7 at 2-3
(prohibiting further RFPs outside of “follow-up RFPs on Meta to obtain materials concerning new
developments, facts, or issues that may come to light,” including those “fall[ing] outside the
[RTP]”). Further, Plaintiffs suggest that DMO No. 7 set the RTP only for “Meta’s search,
collection, and review of responsive documents.” Plaintiffs, however, fail to quote the full
sentence, which states that the RTP applies to “Plaintiffs’ discovery requests directed at Meta and
Meta’s search, collection, and review of responsive documents.” DMO No. 7 (emphasis added).
The reference to both “discovery requests” and document discovery confirms that, contrary to
Plaintiffs’ assertion, “discovery requests” cannot be limited to just document discovery, and it
confirms that the Court subjected both to the RTP. The RTP thus applies to 30(b)(6) depositions.

Accordingly, the default end date should apply to 30(b)(6) topics to mirror the general document
discovery end date, except to the extent those topics seek testimony concerning Teen Accounts,
Reset Recommendations, or the interpretation of post-April 1, 2024 data produced by Meta.

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                                       ATTESTATION

       I, Joshua Olszewski-Jubelirer, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the

concurrence to the filing of this document has been obtained from each signatory hereto.



Dated: May 13, 2025

                                                    By: /s/ Joshua Olszewski-Jubelirer

                                                        Joshua Olszewski-Jubelirer




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